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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                  10/19/2020
United States of America,


               –v–                                                          16-cr-669 (AJN)

                                                                                ORDER
Michael Laboy,

                      Defendant.



ALISON J. NATHAN, District Judge:

       The Court will hold the upcoming initial VOSR appearance by AT&T teleconference.

The parties and members of the public may access the proceeding on October 23, 2020, at 1:00

p.m. by dialing (888) 363-4749 and entering access code 9196964.


       SO ORDERED.


Dated: October 19, 2020                         __________________________________
       New York, New York                                ALISON J. NATHAN
                                                       United States District Judge
